Case 1:12-cr-00119-MAC-ZJH           Document 613        Filed 11/22/17     Page 1 of 1 PageID #:
                                            2216




 UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                         §
                                                  §
 versus                                           §   CASE NO. 1:12-CR-119(9)
                                                  §
 JUANETTE MARIE CUNNINGHAM                        §

      MEMORANDUM ORDER ADOPTING REPORT AND RECOMMENDATION

          The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

 Judge. In accordance with 18 U.S.C. § 3401(i) and 18 U.S.C. § 3583(e), Judge Giblin held a

 hearing and submitted findings of fact and a recommendation on the defendant’s plea of true. The

 defendant consented to the revocation of her supervised release and waived her right to be present

 and allocute at sentencing. The parties have not objected to Judge Giblin’s report.

          The Court ORDERS that the findings of fact and recommendation on plea of true (#607)

 are ADOPTED. The Court finds that the defendant, Juanette Marie Cunningham, violated

 conditions of supervised release and ORDERS that her supervision is REVOKED. Pursuant to

 Judge Giblin’s recommendation and the parties’ agreement, the Court ORDERS the defendant to

 serve a term of nine (9) months imprisonment. The Court further ORDERS the defendant to serve

 a new term of supervised release for three (3) years. The conditions of supervision will be set

             .
 forth in a separate revocation judgment.
            SIGNED at Beaumont, Texas, this 7th day of September, 2004.
            SIGNED at Beaumont, Texas, this 22nd day of November, 2017.




                                              ________________________________________
                                                          MARCIA A. CRONE
                                                   UNITED STATES DISTRICT JUDGE
